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           EXHIBIT 1
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        1   all others similarly situated and aggrieved

        8
                          SUPERIOR COURT OF THE STATE OF CALIFORNIA
       9
                                  FOR THE COUNTY OF SAN FRANCISCO
      10

      11
            TRICIA YEOMANS. ISMAIL
            CHRAIBI,ADRIAN RODRIGUEZ.
                                                      Case No.
                                                                    CGC-18-57^397
            ROBERT JENKINS, and                       CLASS ACTION COMPLAINT
      12    DOROTHY JENKINS, individually
                                                      1. DECLARATORY RELIEF (Code Civ. Proc-.
            and on behalf of all others                  § 1060)
      13    similarly situated,
                                                      2. FAILURE TO PAY MINIMUM WAGES
      M                                                  (Labor Code §§ 1194,1197);
      15                   PlaintifTs,                3. FAILURE TO PAY OVERTIME WAGES
                                                         (Labor Code §§ 510,1194,1198 and Applicable
      16                                                 Wage Order);
                   vs.
                                                      4. FAILURE TO PROVIDE MEAL BREAKS
      17                                                 (Labor Code §§ 226.7,512, and Wage Order);
      IK    WORLD nNANClAL GROUP                      5. FAILURE TO PROVIDE REST BREAKS
            INSURANCE AGENCY, INC. a                     (Labor Code §§ 226.7,512, And Wage Order);
      19    California corporation;                   6. FAILURE TO MAINTAIN ADEQUATE
            WORLD FINANCIAL GROUP,                       RECORDS (Labor Code § 1174, Wage Order);
      20
            INC., a Georgia corporation; and          7. FAILURE TO REIMBURSE FOR
      21    DOES 1 to lOO, inclusive.                    NECESSARY BUSINESS EXPENSES (Labor
                                                         Code § 2802);
      22                                              8. FAILURE TO PROVIDE ADEQUATE WAGE
                          Defendants.
                                                         STATEMENTS (Labor Code §§ 226, 226J);
      2.^
                                                      9. UNLAWFUL DEDUCTIONS FROM WAGES
      24                                                 (Wage Order);
                                                       10. WAITING TIME PENALTIES (Labor Code
      25                                                   §§201-203);
      26                                               11. UNFAIR COMPETITION (Bus. & Prof. Code
                                                           § 17200 et seq.)\
      37                                               12. QUANTUM MERIT/UNJUST
                                                           ENRICHMENT
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                                            CLASS ACTION COMPLAINT
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 7   all others similarly situated and agi'rieved

 8                 SUPERIOR COURT OF THE STATE OF CALIFORNIA
 9                        FOR THE COUNTY OF SAN FRANCISCO
10
     TRICIA YEOMANS, ISMAIL                    Case No.
11   CHRAIBI,ADRIAN RODRIGUEZ,
     ROBERT JENKINS, and                       CLASS ACTION COMPLAINT
12   DOROTHY JENKINS, individually              1. DECLARATORY RELIEF (Code Civ. Proc.,
     and on behalfof all others                    § 1060)
13   similarly situated.
                                                2. FAILURE TO PAY MINIMUM WAGES
14                                                 (Labor Code §§ 1194, 1197);
15                  PlaintitTs.                 3. FAILURE TO PAY OVERTIME WAGES
                                                   (Labor Code §§ 510, 1194, 1198 and Applicable
16                                                 Wage Order);
            vs.                                 4. FAILURE TO PROVIDE MEAL BREAKS
17                                                 (Labor Code §§ 226.7, 512, and W'age Order);
18   WORLD FINANCIAL GROUP                      5. FAILURE TO PROVIDE REST BREAKS
                                                   (Labor Code §§ 226.7, 512, And W'age Order);
     INSURANCE AGENCY, INC. a
19   California corporation:                    6. FAILURE TO MAINTAIN ADEQUATE
     W'ORLD FINANCIAL GROUP,                       RECORDS (Labor Code § 1174, W'age Order);
20
     INC., a Georgia corporation: and           7. FAILURE TO REIMBURSE FOR
21   DOES 1 to 100. inclusive.                     NECESSARY BUSINESS EXPENSES (Labor
                                                   Code § 2802):
22                                              8. FAILURE TO PROVIDE ADEQUATE WAGE
                    Defendants.                    STATEMENTS (Labor Code §§ 226, 226.3);
23
                                                 9. UNLAW FUL DEDUCTIONS FROM WAGES
24
                                                   - (W'age Order);
                                                 10. WAITING TIME PENALTIES (Labor Code
25                                                   §§ 201-203);
26
                                                 11. UNFAIR CO.MPETITION (Bus. & Prof. Code
                                                     § 17200 et scq.)]
27                                               12. QUANTUM MERIT/UNJUST
                                                     ENRICHMENT
28

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                                                         13. INTENTIONALMISCLASSIEICATION
      I                                                      (Labor Coile § 226.8)
     2                                                   14. VIOLATIONS OF PRIVATE ATTORNEYS
                                                             GENERAL ACT (Labor Code §§ 2698 ctseq.)
     3
                                                     DEMAND FOR JURY TRIAL
     4

     5

     6           Plainiirfs TRICIA YEOMANS, ISMAIL CHRAIBL ADRIAN RODRIGUEZ, ROBERT

     7    .lENKlNS. and DOROTHY JENKINS ("Plainiifn;”). on behalf of ihcmselvcs. individually, and all

     8    others similarly situated and aggrieved, bring this Complaint against Defendants WORLD

     9    FINANCIAL GROUP INSURANCE AGENCY. INC.. WORLD FINANCIAL GROUP. INC., and

    10    DOES 1 to 100. inclusive (collectively. ''Defendants”), and for causes of action against them,

          allege and complain as follows;

    12                                            INTRODUCTION

    13            I.     Defendants' staled business purpose is to market financial and insurance products

    14    sold through its affiliaied companies. Defendants recruit as many individuals as possible to sign

    15     up to work for Defendants by representing that joining Defendants as "Associates" will allow

     16    individuals to build and operate their own financial services business, and that Defendants merely

_ . .17    give them the tools to build that business.     .     ________      .               ______ _

     18          •>      However, in reality, Defendants conduct their business by way of a massive

     19    pyramid scheme: once prospective Associates pay the required SlOO application fee to join

    20     Defendants and are approved, one of Associates' prirnan.’ duties is to recruit more Associates for

    21     the benefit of Defendants—-a duly for which they receive no compensation. Indeed. Defendants

    22     set the criteria for Associates' promotion up the company hierarchy, and one of the main factors

    23     involved in achieving promotions is the number of new .Associates that an Associate recruits.

    24           3.      Because of Defendants' intense focus on recruiting to build the pyramid, they place

    25     very* little emphasis on marketing or selling financial and insurance products to anyone other than

    26     new Associates and their family and friends. In fact. Defendants' emphasis on recruiting us many

    27     people as possible is one of their primars* soles tactics, because in addition to the required SIOO

    28     application fee. once new Associates sign up with Defendants. Defendants pressure them to
                                                        2
                                             CLASS ACTION COMPLAINT
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     purchase DcTcndams' financial and insurance products. Defendanis train their .Associates to sell

2    financial and insurance products to the new Associates as soon as possible, since most new

3    Associates leave the company shortly aflcr signing up. Becoming an Associate requires no prior

4    skill, knowledge, training, or e.\periencc. so the recruiting pool is nearly limitless. Therefore,

 5   recruiting is also a major revenue stream, through the combination of the required SlOO

6    application fee paid by all new Associates, new policies then aggressively marketed to the new

 7   Associates, and the further •mining” of the contacts and thus prospective fimher new Associates

 8   who regularly flow from all newly recruited Associates.

 9         4.       In order to increase their profits. Defendants have unlawfully misclassined

10   Associates as "independent contractors” rather than as employees, thereby evading all of the

     obligations of an employer to provide benefits, pay relevant taxes, and absorb various normal

12   operating costs. Accordingly, Plaintiffs and other similarly situated and aggrieved individuals in

13   the business of selling securities and insurance or training to be in the business of selling financial

14   and insurance products ("Class Members”), have all been damaged as set forth hereafter. By this

15   action. Plaintifls seek to put an end to this illegal and oppressive conduct.

16          5.      Plainiifl's and Class Members are plainly employees under California law. As a

17   condition precedent to employment, all Associates are required to sign identical, non-negotiable

IS   Associate Membership Agreements {"AMAs”). The AMAs set forth uniform rules and policies

19   promulgated by Defendants, which subject Associates to strict control and incorrectly classifies

20   them as independent contractors. PlaimifTs and Class Members signed the AMAs.

21          6.      further. Defendants completely control the overall operation of the business by

22   virtue of the following eunduel. us e.vuiViples oitly; they organize Associates into a hierarchy by

23   starting them as Training Associates, and then set the criteria for promotions to Associate, Senior

24   Associate, .Marketing Director, and then Senior Marketing Director (promotions above Senior

25   Marketing Director are to lExecuiive-level positions): create and administer the commission plan

26   under which all Associates are compensated: create the marketing and presentation materials,

27   which .ASsocialcs must use and may not alter: provide Associates written and interactive training;

28   provide guidance on obtaining insurance and secuiiiies licenses: establish the exclusive list of
                                                 3
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     producis ihe Associates can sell: and set prohibitions on selling competing products or joining

 2   other similar organizations.
 2
            7.         Additionally. Defendants retain the exclusive authority to hire and fire every

4    Associate, and the Associates have no rights to. and are prohibited from taking with them when

 5   they leave (whether voluntarily or by forced termination), the following: any of the other

 6   Associates they personally recruited for their purported Independent business, any marketing or

 7   presentation maleriaLs, or any customer lists, including of customers they generated for their own

 8   purported independent business. In fact, the AMA explicitly provides that Defendants ''ownf] all

 9   rights in and to'' Associates.

10           8.        Because Defendants classify all oftheir Associates as independent contractors, they

11   pay Associates, including Plaintiffs and Class Members, no wages. Instead. .Associates work

12   exclusively under Defendants' commission plan under which the majority of Associates do not

13   earn enough to make minimum wage, and none receive overtime pay. Some Associates, such as

14   those who do not yet have insurance or securities licenses, can earn no income at all because they

15   cannot sell anything: however, while seeking their licenses, they can and are pushed to recruit

16   new Associates for the benefit of the Defendants.

17           9.        Additionally, as a result of Defendants' intentional misclassiflcation. Associates

18   like Plaintiffs and Class Members are forced to absorb thousands of dollars of costs which should

19   be legally and appropriately borne by their employer, leaving many in a financially precarious

20   position with limited take home pay—someiiincs actually owing Defendants money in.stead of

21   receiving money from Defendants. Associates are also deprived of the protection of workers'

22   compensation benefits in the event of injury, as well as other benefits to which they are entitled.

23   Moreover, because of its misclassiflcation, Defendants fail to properly pay employment related

24   California and federal taxes that they would owe as on employer. These actions illegally reduce

25   Defendants' costs of doing business and constitute unlawful and unfair businc.ss practices in

26   violation of California's Unfair Competition Law.

27               10.   By willfully and intentionally misclassifying .Associates, including Plaintiffs and

28   Class Members, as independent contractors. Defendants failed to pay them minimum wages.
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                                  CLASS ACTION COMPLAINT
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      fuik-d 10 pay overtime wages, failed to provide mand.^to^y incnl and rest breaks, foiled to maintain

 2    adequate records, failed to reimburse employees for reasonably incurred businesses expenses,

      made improper deductions from wages, failed to pay them all wages upon separation, failed to

 4    provide accurate wage statcmcnis. and improperly required them to pay application fees for

 5    employment.

 6            11.   As such. Defendants' policies, practices, and customs violate the California Labor

 7    Code. IWC Wage Order No. 4. laws covered by the Private Attorneys Genera! .Act (‘ RAGA"). and

 8    constitute unlawful nnd/or unfair business practices in violation of the California Business &

 9    Professional Code, all of which have resulted in damages and losses to PlaimifTs and Class

10    Members.

Ii            12.   Further. PlainiilTs and the Class Members rendered services to Defendants from

12    which Defendants derived a benefit. Defendants, however, failed to compensate Plaintiffs and the

i:>   Class Members for the reasonable value of such scrx’iccs. Thus. Defendants were unjustly

14    enriched.

15                                    .lURISDICTION A.M) VENUK
16            13.   This Conn has Jurisdiction over this action under the California Constitution.

17    Article VI. section 10, which grants the Superior Court. "Original jurisdiction in all causes except

18    those given by statute to other courts." The statutes under which PlainiilTs bring this action do not

19    specify any other basis for jurisdiction.

20            14.    Venue Is proper in this judicial district under California Code of Civil Procedure §5}

21    395(ti) and 395.5 as a portion of the acts and Injuries complained of herein occurred in this County.

22    Further, upon information and belief, neither Defendant resides in the state of California.

23            15.    On information and belief. Defendants operate a significant portion of their

24    business within California, including within the County of San Francisco. The unlawful acts

25    alleged herein have a direct elTcci on Plaintiffs and those similarly situated within the state of

26    California and within the County of San Francisco. The claims alleged herein arise from work

27    performed by PlaintifTs and the Class for Defendants within the state of California. All of the

28    claims Plaintiffs assert for themselves and for the putative Cla.ss relate exclusively to work
                                                       5
                                        CLASS ACTION COMPLAINT
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     performed wiihin the Stale of California.

2                                                PARTI KS

             16.   Plaintiff Tricia Yeomans is a citizen and resident of the State of California, and has

4    been employed by Defendants from in or about l-ebruar)' 2012 to the present. Plaintirt* Yeomans

5    is a Senior Marketing Director for Defendants.

6            17.   PlainiifT Ismail Chraihi is a citizen and resident of the Slate of California, and was

 7   employed by Defendants from in or about July 2014 to December 2016. At the time o! his

•8   separation from Defendants. Plaintiff Chraibi was a Senior Marketing Director.

9            18.   Plaintiff Adrian Rodriguez is a citizen and resident of the State of CaliforniQ. and

10   W0.S employed by Defendants from in or about December 2015 to December 2016. At the lime of


     his separation from Defendants, Plaintiff Rodriguez was a Marketing Director.

12           19.   PlaintifV Robert Jenkins is a citizen and resident of the State of California, and has

13   been cmplovcd by Defendants from in or about December 2014 to the present. PlainiifT Robert

14   Jenkins currently a Marketing Director.

15           20.   PlainiifT Dorothy Jenkins is a citizen and resident of the Slate ofCalifornia. and has

16   been employed by Defendants from in or about December 2014 to the present. PlaintifI Dorothy

17   Jenkins is currently a Marketing Director. —— - —          ------------------- — —------ ------------------

18           21.   Plaintiffs have been victimized by the policies, practices, and customs of

19   Defendants, which arc complained of in this action, in ways that have deprived them of the rights

20   guaranteed to them by IWC Wage Order No. 4. the Labor Code, and the Bus. & Prof Code.

21           22.   Defendant World Financial Group Insurance Agency.                 Inc. is a California

22   corporation doing business wiihin the State of California. It has at all relevant limes been an

23   employer covered by the Labor Code and IWC Wage Order No. 4.

24           23.    Defendant World Financial Group. Inc. is a Georgia corporation doing business

25   wiihin the Stale of Califortiia. It has at all relevaiu limes been an employer covered by the Labor

26   Code and IWC Wage Order No. 4.

27           24.    Upon information and belief. Dcfcndanis arc wholly owned subsidiaries of

28   AIZGON N.V. which operates under the Transamerica brand in the United States.
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            25.    PlaimifTs do not know iht iruc names or capacities, whether individual, partner, or

2    corporate, of the defendants sued herein as DOIE defendants and for that reason, said defendants

1    arc sued under such fictitious names, and Plaintiffs pray for leave to amend this complaint when

     the true names and capacities arc known. Plaintiffs are informed and believe, and based thereon

 5   allege, that each of the said fictitious defendants was responsible in some way for the matters

6    alleged herein and proximaicly caused Plaintifls and members of the general public and putative

 7   class to be subject to the illegal employment practices, wrongs, breaches, and injuries complained

 8   of herein.

9            26.   At all times pertinent hereto, each of the said DOE defendants participated in the

10   doing of acts hereinafter alleged to have been done by the named Defendant ("Named Defendants

     and Doc Defendants are collectively referred to as "Defendants’’); and furthermore, the

12   Defendants, and each of them, were the agents, servants, and employees of each of the other

13   Defendants, as well as the agents of all Defendants, and at all limes herein mentioned, were acting

14   within the course and scope of said agency and employment.

15           27.   Plaintiffs are informed and believe, and based thereon allege, that at all limes

16   pertinent hereto, each of the Defendants named herein was the agent, employee, alter ego, and/or

17   joint venturer of, or working in concert with, each of the other co-Dcfendanis and was acting

18   within the course and scope of such agency, employment, joint venture, or concerted activity. To

10   the extent the said acts, conduct, and omissions were perpetrated by certain Defendants, each of

20   the remaining Defendants confumed and ratified said acts, conduct, and omissions of the acting

21   Defendants.

22           28.   At all limes pertinent hereto, the acts and omissions of various Defendants, and

23   each of them, concurred with and contributed to the various acts and omissions of each and all of

24   the other Defendants in proximately causing the injuries and damages, as herein alleged. At all

25   pertinent limes. Defendants, and each of them, ratified each and every act or omission complained

26   of herein. At all pertinent limes, the Defendants, and each of them, aided and abetted the acts and

27   omissions ofeach.and all of the other Defendants in proximately causing the injuries and damages

28   as herein alleged.
                                                 7
                                      CLASS ACTION COMPLAINT
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                                    substantive allegations
 2    A.     Dufciulants' Business Mudel
 •y
             29.    Associales perform an inlegral and csseniial aspeci of Defcndanls* business: Uiey

4     markei financial and securities products sold through Defendants' afllliaied companies, and

 5    rccnjii more .Associates to work for the Defendants.

 6           30.    To join Defendants' business, prospective Associates must sign the AMA and pay

 7    a $100 non-rcfundablc application fee. Defendants currently boast that they have over 60.000

 8    Associates while only having 225 "Home Ofllce Employees.”

 9           31.    Upon information and belief, Associales account for 100% of Defendants’ revenue

10    and do all of Defendants' sales and recruiting work.

II           32.    In short, marketing financial and insurance products and recruiting new Associales

12     is Defendants' principal business operation. Without the Associates, Defendants could not caiT\'

13    on their business.

14           33.    Additionally. Defcndanls control all material aspects of the enterprise and

15     Associates. However, Defendants classify all of the Associales as independent contractors.

16           34.     Defendants compensate all of the Associaie.s exclusively via          Defendants'

17.    commission plan, and Associales arc not paid separately for any required non-sales-activity.-nor

18     are they provided with or compensated for meal or rest periods. They did not receive pay stubs

19     that, among other issues, recorded their rate of pay, the number of hours that they worked, or

20     broke out the total hours of compensable rest and recovery periods. .Additionally. Associates arc

21     not reimbursed for necessary business expenses.

22           35.     New Associales who do not yet have their insurance licenses require approximately

23     three to four months to become licensed, and during that interim period, they do not receive any

24     compensation for their work for Defendants.

25    B.     Defendants' Misclassincution of Plaintiffs and Class Members

26           36.     Under the applicable .statutes and Wage Order regulations. Defendants arc the

27     "employer" of PlainiifTs and Class Members because Defendants have engaged them to do

28     something of benefit for them or a ihird-paiiy (Labor Code § 2750), and because they exercise
                                                      8
                                       CLASS ACTION COMPLAINT
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     pervasive control over ihc Associates and retain all neccssar>’ control over the business enterprise.

2    Further. Defendants exercise control over the wages and working conditions of the Associates, so

3    as to render Plainiifls and all Class Members employees.

4          37.     Additionally, under the applicable IWC Wage Order, as recently explained by the

5    California Supreme Court in      Dynaine.x Operaiions West. Inc. v. Superior Court. 2018 WL

6    1999120 (2018), n worker in California cannot be an independent contractor unlc.ss the hirer can

 7   prove: (A) that the worker is free from the control and direction of the hirer in connection with

8    the performance of the work, both under the contract for the performance of such work and in

9    fact: and, (B) that the worker performs work that is outside the usual course of the hiring entity's

10   btisincss: and (C) that the worker is customarily engaged in an independently established trade,

     occupation, or business of the same nature as the work performed for the hiring entity.

12          38     As discussed herein. Defendants cannot prove that they meet any of the above

13   requirements, let alone all of them, as they must do under ihe Oynanuw decision. Thus, as .set

14   forth hereafter. Defendant.^ have misclassiHcd Plaintiffs and Class Members as independent

15   contractor.s instead of employees.

16          39.     First. Defendants retain and exercise significant control over PlainiifVs' and Class

17   Members, including the details of. the manner and means of the reemiting and marketing of

18   financial and insurance products, the products Associates can sell, how Associates market and sell

19   products, and all necessar>' aspects of Associates' working conditions.

20          40.     Defendants' relationship with all Associates is governed by the AMA. which is a

21   uniform, non-negotiabic contract. Defendants' uniform rules, policies, and procedures are

22   disseminated to all Associates via the company’s intranet, and arc incorporated by reference into

23   the AMA.
24          41.     l lowever. when potential As.sociaics are recruited and seek to join Defendants, they

25   an: given a pre-constnicted packet of documents to fill out and sign that does not include the full

26   AMA. Instead, the packet contains only the signature page of the AMA. along with other

27   documents. The full AMA is not provided to prospective Associates, if at all. until after they have

28   been approved and begin working as Associates.
                                                  9
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              '12.    When Associates recruit prospective new Associates, the new Associates contract

   2    directly with Detendams. as opposed to contracting with the Associate who recruited the new

        Associate into the purported independent bu.siness. Associates cannot negotiate the AMA's terms

   4    with prospective Associates.

   5          43.     Despite Defendants repeatedly promoting the fact that Associates can operate their

   6    own businc.sscs, thc.AMAc.vprcssly provides that Defendants have the right to have final approval

   7    and control over all contract.*?, rights, and obligations that relate, in any way. to the Associate’s

   8    relationship with Defendants, and that Defendants “shall hove exclusive proprietary interest in.

   f>   or ownership, of all Customers, and contractual relationships with other associates and the

  10    Product Providers.’’

  II          44.     The AMA also expressly provides that Defendants “own|] all rights in and to the

  12    following: (i) WTC, which ... includes all persons who have an in force A.ssociate Membership

  13    Agreement with WPG; (ii) the identities of and all lists of the members comprising WFG; and

  14    (iii) the identities of and all lists of the Customers of WFG (even though the Associate may not

  15    have recruited any of the members or produced any of the Customers) which constitute property

  16    owned solely by WFG.” In sum and substance, the Defendants assert ownership over the

— 17    Associates ihcmselves-lockrstock and barrel;           ''      “ '       '    ‘

  18          45.     The AMA provides that As.soclaics shall not use sales materials, media, letters,

  19    business cards, letterhead, without Defendants’ express approval. Associates must order their

  20    materials directly through Defendants. .Additionally. Defendants only allow Associates to have n

  21    website if it is through Defendants’ approved website vendors, and Defendants control

  22    Associates' use of social networking and the manner in which they advertise.

  23           46.    If an Associate sells a financial product to a customer, and the customer seeks a

  24    refund directly from Defendants, then under the AMA Defendants reserve the right and sole

  25    discretion to refund to any customer all or any part of payments made hy the customer without

  26    consulting with or seeking input from the .Associate. Moreover, under the AMA. the Associate is

  27    required to reimburse Defendants promptly for Defendants’ expenses in connection with the

  28    refund and to repay Defendants promptly ail commissions.
                                                      10
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           47.        Addiiionully. Dcfcndimis sci ihc commission schedules for nil Associnies and.

 2   under the AMA, Defendants “may. from lime to time, in the exercise of its sole discretion, and

 3   without notice, increase or decrease the rates and amounts of commissions or the sales position

 4   of Associate."
 5         48.        Associates are instructed to use scripts created by Defendants to recruit new

 6   Associates.

 7         49.        Under the AMA. all Associates are responsible for supervising, directing, and

 8   training downline associates to ensure that they arc following Defendants' policies and

 9   procedures. In other words, all Associates have one or more people from Defendants who

10   supervised, directed, oversaw, or controlled their work.

)I         50.        The AMA requires all Associates to obtain errors and omissions and fidelity

12   liiMiranee coverage at their own expense, but it must be purchased through Defendants’ contracted

13   insurance companies.

11         51.        Associates have to spend an extraordinary amount of time in mandatory meetings—

15   without being paid. The primary meetings arc called Business Presentation Meetings (“BPM”)

16   and they lake place twice a week for approximately 3 hours. Approximately once per month,

17   Associnies have a second meeting aftci the DPM. which lasts at least eight hours, and Associates

IS   arc required to pay SI50 to attend these meetings. Further, there arc additional meetings after

19   BPMs. and on other days of the week. As stated. Associates are not compensated for attending

20   these meetings.

21         52.        Defendants have the sole authority to terminate Associates and may do so for any

22   material breach of the AMA or Defendants' Rules, or for poor sales performance. Under the AMA.

23   Associates cannot take their "downline’' Associates, or any other Associates that they rccniii. with

24   them if they leave Defendants, and cannot solicit even their own purported customers to reduce

25   or give up coverage under any products afTiIiaicd with Defendants after they leave the company,

26   in order to offer to sell them products from any new entity they might work for going fonvard.

27         53.        Second, the serx'lce provided by Plaintiffs and Class Members—marketing

28   financial and insurance products—is not an independently established trade such as a plumber or

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        electrician. Rather, they arc integral and central to the operation of Defendants' core business.
    2   Defendants explieilly hold themselves out as a company that markets financial and insurance
    3   products. Plaintiffs and Class Members perform these services for Defendants, along with
    4   recruiting others to come into the Company under them.
    5         54.     Third. Defendants prevent Plaintiffs and Class Members from engaging in an
    6   independently established trade, occupation, or business by refusing to allow them to use their
    7   platform with Defendants to market non-approved financial and insurance products. Defendants
    8   set prohibitions on selling competing products, joining other "hierarchical marketing
    9   organizations.” engaging in various "prohibited outside business activities." and using the internet
   10   for any business without Defendants' approval.
   11         DO.     Finally, all Associates, including Plalntifls and Class Members, arc uniformly
   12   required to pay many employment-related e.xpcnscs including, BPM fees, office expenses,
   13   expenses for murkeiing materials and business cards, client entertainment and development
   14   expenses, gas and other mileage related expenses, phone expenses (both cellular and landlines, as
   15   needed), and errors and omissions insurance.
   16          56.    Despite the above. Defendants knowingly and intentionally misclassify Plainiifls
- ‘17   and Class Members as independent contractors when, under California law. they are employees
   18   who arc working within Defendants' business, providing the service that Defendants exist to
   19   provide to their customers.
   20   C.     Defendants* Failure to Pay Overtime Wages
   21          57.    At all relevant times herein. California Labor Code §§ 510 and 1198 and IWC Wage
   22   Older No. 4. section 3. make it unlawful for an employer to employ persons without compensating
   23   them at one and a halftimes or double the employee's regular rate ofpay depending on the number
   24   of hours worked by the employee in a daily or weekly basis.
   25          58.    California Labor Code § 510 provides for overtime compensation at one-and-one-
   20   half times the regular hourly rale for hours worked in excess of eight (S) hours in a day or forty
   27   (40) hours in a week or for the first eight (8) hours worked on the seventh day of work.
   28          59.    Culifuniia Labor Code y 510 also provides I'orovcnime compensation at twice the
                                                     12
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      regular hourly rale for hours worked in excess of twelve (12) hours in a day or in excess of ciuhl
2     (8) hours in a day on ihc seventh day of work.
3            60.     I we Wage Order No. 4. scciion 3. requires employers lo pay their employees one
4     and a halftimes the employee's regular rale of pay loi' all hours worked in excess of eight (8)
 5     hours in a workday or more than forty (40) hours in a workweek.
6            61.      IWC Wage Order No. 4, section 3, further requires that employers pay their
 7     employees double the employees' regular rate of pay for all hours worked in excess of twelve
 8     (12) hours in n workday and for all hours worked in excess of eight (8) hours on the seventh (7th)
 9     consecutive day of work in a workweek.
10           62.      During the relevant time period, PlaintilTs and Class Members regularly worked in
       excess of eight (8) hours in a day. in excess of twelve (12) hours in a day, and/or in excess of forty
 im    (40) hours in a week, yet Defendants failed to pay Associates overtime compensation in violation
13     of California Labor Code      510 and 1198 and Wage Order No. 4. section 3.
14    1).     Defendants’ Failure to Provide Meal Periods
15            63.     At all limes relevant hereto. California Labor Code §§ 226.7 and 512 and IWC
16     Wage Order No. 4. section 11. required employers to provide employees with a first meal period
17     of not less than thirty (30) minutes during which they arc relieved of all duty before working more
18     than five (5) hours and a second meal period of not less than thirty (30) minutes during which
19     they are relieved of all duty before working more than ten (10) hours per day.
20            64.     At all limes relevant hereto. California Labor Code § 226.7(b) and IWC Wage Order
21     No. 4. section 11. required employers to pay one hour of additional pay at the regular rate of
22     compensation fui each eitiployce and each workday that a proper meal period is not provided.
23            65.     Defendants did not have, maintain, or publish a compliant meal period policy.
24            66.     Funher, by improperly classifying PlaintilTs and Class Members as independent
25     contractors. Defendants affirmatively represented to Plaintiffs and the Class that they had no
26     rights to receive the meal periods that w-erc legally required to be provided by Defendants.
27            67.     Defendants failed to provide breaks, keep records of break times and did not inform
28     PlaintilTs and Class Members of their rights to a thirty (30) minute, uninterrupted, duty-free meal
                                                    13
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     break under California law.
-)          68.    Dcfcndanis reeularly failed lo provide a litnely ihiny (30) minuic off-duiy meal

3    period \o Associaies when working more ihan five (5) hours in a day.

4           69.    Dcfcndanis furiher regularly failed lo provide a .second limely ihiny (30) minuic

5    meal period lo Associaies who worked more than len (10) hours in a day.

6           70.    Dcfcndanis regularly failed lo pay one hour of additional pay ai ihe regular rale of

7    compensation for each Associate for each workday thai a proper meal period was not provided.

8    F.     Defendants’ Failure to Permit and Compensate for Rest Periods

9           71.     Al all limes relevant hereto. California Labor Code § 226.7 and IWC Wage Order

iO   No. 4. section 12. required employers lo authorize, permit, and provide a ten (10) minute paid rest

     period for each four (4) hours of work, during which employees arc relieved of all duty. Such

12   breaks are paid and counted as hours worked.

13          72.     At nil limes relevant hereto. Californio Labor Code § 226.7(b) and IWC Wage Order

14    No. 4. section 12. required employers to pay one hour of additional pay at the regular rate of

15    compensation for each employee and each workday that a proper rest period is not provided.

16          73.     Defendants did not have, maintain, or publish a compliant rest period policy.

17          74.     Further, by improperly classifying Plaintiffs and the Class as Ihdcpendehi

IS    contractors. Defendants airirmativcly represented to Plainiifl's and the Class that they had no

19    rights to receive the rest periods that were legally required to be provided by Defendants.

20          75.     Defendants regularly failed to provide a ten (10) minute paid rest period for each

21    four (4) hours of work, during which the Associates should have been relieved of all duty.

22          76.     As a result of Defendants' compensation scheme. Defendants failed lo compensate

23    their Associates for break times when breoks were not provided. Defendants’ compensation

24    scheme did not permit paid rest breaks as mandated by California law.

25           77.    Defendants regularly failed to pay one hour of additional pay at the regular rate of

26    compensation for each Associate each workday that a proper rest period was not provided.

27    ///

28    ///
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      F.     l>i‘ft‘iulaiits' Failure to Maintain Adequate Employment Records and Failure to
 2           Provide Accurate itemized Wage Statements

             78.     At all limes relevanl hereto. Labor Code § 226 and IWC Wage Order No. 4. section
 4     7. required employers to maintain adequate employment records and provide employees with

      accurate itemized wage statements showing gross wages, total hours worked, all applicable hourly
 6    rates worked during each pay period, the con’csponding number of hours worked at each hourly
 7    rate, and the beginning and end of all meal breaks taken.
 8           79.     Wage statements provided by Defendants do not show all wages earned, all hours
 9    worked, or all applicable rates, in violation of the California Labor Code ^ 226.1 WC Wage Order
10    No. 4. section 7.
11           80.     Moreover. Defendants did not maintain adequate records ofall wages earned, hours
12     worked, and meal breaks taken.
13    C.     Defendants' Failure to Indemnify Associates for Defendants' Business Expenses
14            81.    At all times relevanl hereto. California Labor Code § 2802 required employers to
15     indemnify their employees for '’all necessary expenditures or losses incurred by the employee in
16     direct consequence of the discharge of his or her duties, or of his or her obedience to the directions
17     of the employer..."'   ~
18            82.    IWC Wage Order No. 4, section 9. requires employers to maintain tools and
19     equipment required by the employer or that are necessarv- to the performance of the job.
20            83.    Defendants have failed to reimburse PlnimifTs and Class Members for all business-
2.1    related expenses and costs Associates incurred, including but not limited to BPM fees, ofFice
22     expenses, expenses for marketing materials and business cards, client entertainment and
23     development expenses, gas and other mileage related expenses, phone expenses (both cellular and
24     landlincs. as needed), and errors and omissions insurance.
25    H.      Defendants' Unlawful Deductions from .A.ssociates’ Wages
26            84.    •At all times relevanl hereto. IWC Wage Order No. 4. section 8. required that no
27     employer shall make any deduction from the wages of its employees or require any
28     reimbursement from an employee for any cosh shortage, breakage, or loss of equipment, unless it
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 I    can be shown ihai the shonn^e. breakage, or loss is cau.scd by a dishonest or willful act. or by the

 2    gross negligence of the cntployec.

 3          85.     Wage siaicmcnis provided by Defendants show deductions from PlaintiOs' and

 4    Class Members’ paychcck.s for work-related expenditures they incurred in direct consequence of

 5    their job duties, in violation of the IWC Wage Order No. 4. section 8.

 6   1.     Defendants’ Failure to Pay \Vagc.s Due on Termination

 7          86.     At all times relevant hereto. California Labor Code § 201 required an employer that

 S    discharges an employee to pay compensation due and owing to said employee immediately upon

 9    discharge. California Labor Code § 202 requires an employer to pay an employee who quits any

10    compensation due and owing to said employee within seventy-two (72) hours of an employee’s

11    resignation. California Labor Code § 203 provides that if an employer willfully fails to pay

12    compensation promptly upon discharge or resignation, as required under §s} 201 and 202. then the

13    employer is liable for wailing time penalties in the form of continued compensation for up to

14    ihiny (30) work days.

15          87.     Defendants willfully and knowingly failed to pay Plainiin’s Chraibi and Rodriguex

16    and Class Members, upon termination of employment, all accrued compensation including

17    repayment of all unlawful deductions from wages, payment of minimum wage compensation and

18    missed meal and rest periods compensation.

19           88.    Defendants further willfully failed to timely pay all compensation owed to

20    Associates upon termination, including, but not limited to. wages owed to Plainiifi's Chraibi and

21    Rodriguez, for performing unpaid tasks. As a result. Defendants are liable both for accrued wages

22    due at teniiination and for wailing time penalties.

23   J.      Dcfeiidant.s' Intentional Misclassification of Associates as Independent Contractors

24           89.    At all limes relevant hereto. California Labor Code $ 226.8 makes it unlawful for

25    an employer to willfully misclassify an individual as an independeni contractor.

26           90.    Defendants willfully and intentionally misclassillcd Plaintiffs and Class Members

27    as independent contraciors and in doing to. failed to provide the workers with all of the rights and

28    protections aflbrded them under the wage and hour laws, thereby resulting in all of the violations
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       alleged herein, including, but noi limited to. unlawfully charging workers fees and making

 2     unlawful deductions from workers' wages in violation of Labor Code provisions.

 3     K.     Defendants’ Conduct Violated PAGA

 4            91.    Plaintiffs, on behalf of thcmselvc.s and the proposed class members, will seek leave

 5     at ihe appropriated lime to amend this Complaint to claim all penalties permitted by the Labor

 6     Code Private Attorneys General Act of 2004 ("PAG.A"). Labor Code § 2698. ei setf. By letter

 7     dated December 19.2018. Plaintiffs gave written notice electronically to the Labor and Workforce

 8     Development Agency, and to Defendants via certified mail, of the specific provisions of the Labor

 9     Code alleged to have been violated, including the facts and theories to support the alleged

10     violaiions. If the LWDA refuses to investigate the above claims. Plaintiffs will seek leave to

11     amend the Complaint to claim penalties under PAGA as permitted by statute.

12                                        CLASS ALLEGATIONS

13            92.    Pursuant to Code of Civil Procedure § 382, Plainiin's bring this action on behalf of

14     themselves and the following class:

15            All per.son.s who at any lime during the Class Period: (1) were designated by Defendants

16            a.s independent conirnciors; and (2) who perfomicd work for Defendants in the Slate

.17,          California under the title of Training Associate. Associate. Senior Associate. Marketing

18            Director, or Senior Marketing Director.

10            93.    Class Period: The Class Period is defined as commencing at a date that is four

20     years prior to the date of the filing of this complaint and continuing from that point forward, until

21     the date that a final judgment has been entered in this matter.

22            94.    Niimcrosif>^: The members of the class are so numerous that joinder ofall members

23      would be impractical, if not impossible. The identities of the members of the class arc readily

24      a.sccrtainabic by review of Defendants’ records, including, without limitation, payroll records,

25      employment application forms, work orders, work assignments, and other documents, vouchers

26      and receipts issued to the Class Members by Defendants.

27            95.     Adequacy of Representation: The named Plaintiffs are fully prepared to take all

2$      necessary steps to represent, fairly and adequately, the interests of the above-defined class.
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      Plainiin's' aiiorneys are ready, willing, and able lo fully and adcquaicly represent the class and

      individual PlainlifTs. Plaintiffs' attorneys have prosecuted, tried, and settled wage-and hour class

      actions in the past and currently have doxens of wage-and-hour class actions pending in the

 -1   California slate and federal courts, as well as elsewhere in the United States.

 5          96.     Defendants uniformly administered a company-wide policy and practice of

      misclassifying PlalntiHs and the putative Class Membcr.s as "independent contractors" and:

 1    (a) not paying Plainiifls and the clns.s all wages earned, including minimum uage.s and ovenime

 8    wages, (b) failing to provide mandator)- meal and rest breaks and/or failing to pay premium wages

 9    for missed meal and/or rest periods, (c) failing lo keep proper records as required by the Labor

10    Code and applicable Wage Order regulations, (d) requiring Plaintiffs and the class members lo

      incur and pay for Defendants' necessar)' business e.\pcnscs. without reimbursement therefor,

12    (c) making unlawful deductions from PlainiilTs' and class mciobcrs’ wages. (0 failed to pay them

13    all wages upon separation; (g) failing to provide accurate wage statements, (h) failing to

M     compensate PlainiilTs for the reasonable value of their services provided, (i) requiring prospective

15    Associates to pay a $100 application fee. (j) engaging in unfair business practices, and

16    (k) violating wage and hour laws that carry civil penalties recoverable under RAGA.

17          97.     Plaintilfs arc infonoed and believe, and based thereon allege, that this enterprise"

18    wide conduct was and is accomplished with Defendants’ advance knowledge of the

19    iviisclassincaiion. and arises out of Defendants’ designed intent to willfully and intentionally fail

20    to accurately record proper rates of pay. hours worked, net wages, and deductions.

21          98.     Plaintilfs are informed and believe and based thereon allege, that Defendants had a

22    consistent and uniform policy, practice, and/or procedure of willfully failing to comply with Labor

23    Code §§ Code §s^ 200-203. 226. 226.7. 226.8.450.510.512. 1174. 1194. 1197. 1198. 2802. as
24    well as other violations that constitute unfair and/or unlawful conduct under Bus. & Prof. Code

25    §§ 17200 L'\ set}., and the governing Wage Order regulations.

26          99.     Common Questions of Law and Fact: There ore predominant common questions

27    of law and fact and community of interest amongst Plaintiffs and the claims of the class,

28    concerning Defendants’ trcaimcni of them, including but not limited to:
                                                       18
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        a.    Whether Class Members were improperly classiHcd as independent contractors

 2            instead ofeniployees:

        b.    Whether Dclendants failed to pay for all time worked by virtue of its commission-

4             only compensation system that failed to compensate Class Members adequately;

 5      c.    Whether Defendants failed to pay for all time worked by vinue of paying nothing

 6            for lime worked on required duties other than sales and marketing:

 7      d.    Whether the Class Members performed services for Defendants:

 8      c.    Whether Defendants' engaged Class Members to do work:

 9       f.   Whether Defendants' sufiered or permitted the Class Members to do work:

10      g-    Whether Class Members were free from the control and direction of Defendants in

              conncciion with their work:

12       h.   Whether Class Members' work is outside the usual course of the Defendants'

13            business:

14       I.   Whether Class Members arc engaged in an independently established trade,

15            occupation, or business of the same nature as that involved in the work they

16            perform:

17      .1-   Whether Defcndani.s iciaincd all necessaly control over their business operations:'

18       k.   Whether the compensation paid to Class Members, based on hours worked, was

10            less than the applicable minimum wage or. where applicable, less than the proper

20            ovciumc wage:

21       I.   Whether the Class Members were entitled to mandalorv meal and rest breaks, and

22            if so, whether they were made available or provided, and whether premium wages

23            should have been paid when meal and/or rest periods were missed:

24       m.   Whether Class Members ever received a paid rest period;

25       n.   Whether Defendants kept adequate employment records;

26       0.   Whether the Class Members were improperly required to incur Defendants'

27            necessar>' business expenses without reimbursement therefor:

28       P-   Whether Defendants made illegal deductions from the Class Members' earnings:
                                           19
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 I         q-      Whelhcr Dcfcndanis provided accurate and itemized wage siaiemenls:

2          r.      Whcilicr Oefeiidums required prospective Associates to pay a $100 application fee:

3          s.      Whether the Defendants' policies and practices, as described herein, were unlawful

4                  and/or unfair business practices: and

           t.      Whether the Defendants were unjustly enriched by failing to pay a reasonable value

6                  to Plaintiffs and putative Class Members for their services.

 7          100.   Typicality: The claims of the PlaintifTs are typical of the claims of all members of

 S   the class. PlainliOs arc members of the putative class. PlnintiiTs have sulTered and incurred

 9   damages and losses as a result of the alleged violations of the applicable Wage Order, the Labor

10   Code and the Bus. & Prof. Code and the failure to be reasonably compensated for their ser\'ices.

11   as herein alleged.

12          101.   The Labor Code and Wage Order upon which Plaintiffs base their claims arc

13   remedial in nature. These laws and labor standards serve an important public interest in

14   establishing minimum working conditions and standards. These laws and labor standards protect

15   the average worker from exploitation by employers who may seek to take advantage of superior

16   economic and bargaining power in setting onerous terms and conditions of employment. Such

17   statutes and regulations are designed to defeat rather than implement’ e.xprcss or implied

18   agreements that depart from the statutorx^ scheme, in the employment contract.

19          102.   The nature of this action and the format of laws available to Plaintiffs and members

20   of the class identified herein make the class action formal a particularly efl'icienl and appropriate

21   procedure to redress the wrongs alleged herein and. therefore, is the superior means of redress of

22   Defendants' alleged wrongdoings. Ifeach PlainiilTand memberofthe putative class were required

23   to file an individual lawsuit, the Defendants would necessarily gain an unconscionable advantage

24   since they would be able to exploit and ovei’whelm the limited resources of each individual

25   plaintifTby virtue of their vastly superior financial and legal resources. Requiring each class

26   member to pursue an individual remedy would also discourage the assertion of lawful claims by

27   workers who would be disinclined to file an action against their former and/or current employer

28   due to a very real and justifiable fear of retaliation and permanent damage to their careers at
                                                  20
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         sub.scquctil cjnploymcms. The filing of individual lawsuits would also create an unnecessary

    2    strain on existing judicial resources and raise the potential for inconsistent findings and verdicts

         among the various litigations.

    4           103.   The prosecution of separate actions by the individual Class Members, even if

    5    possible, would create a substantial risk of (a) inconsistent or varying adjudications with respect

    6    to individual Class Members against the Defendants and which would establish potentially

    7    incompatible standards of conduct for the Defendants, and/or (b) adjudications with respect to

    H    individual Class Members which would, as a practical mailer, be dispositive of the interests of

    9    other Class Members not parties to the adjudications or which would substantially impair or

   10    impede the ability of the Class Members to protect their interests. Further, the claims of the

         individual members of the class are not sufTiclenily large to warrant vigorous individual

   12    prosecution considering all of the concomitant costs and expenses.

   1.3          104.   Such a pattern, practice, and unifomi administration of enterprise-wide policies and

   14    practices regarding illegal and improper compensation, as described herein, creates an entitlement

   15    to recovery by the PlainiiJTs and the Class Members identified herein, in a civil action, for the

   16    unpaid balance of the full amount of unpaid and/or withheld compensation, reimbursement of

’ "17    expenses, including interest thereon, applicable penalties and premium pay. reasonable attorneys*

   18    fees, and costs of suit according to the mandates of. imer alia. Labor Code §§ 226. 1194. and

   19    Code of Civil Procedure § 1021.5.

  20            105.   Proof of common business practices und/or fuclua! paitem;:. which the named

  21     PlainlilTs experienced and arc representative of. will establish the right of each of the members of

  22     the proposed class to recover on the causes of action alleged herein.

  23            106.   The putative class is commonly entitled to a spccillc fund with respect to the

  24     compensation and expenses illegally and unfairly retained by Defendants. The class is commonly

   25    entitled to restitution of those funds being improperly withheld by Defendants. This action is

  26     brought for the beneni of the entire class and will result in the creation of a common fund.

   27    ///

   28    ///
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                                        FIRST CAUSE OF ACTION

 2                                   FOR DECLARATORY RELIEF

 3                                          (Ls»bor Code § 3357)

4           107.    PlainlifTs rc-allcgc and incorporaic by reference all of ihe preceding paragraphs of

 5   this coniplaim. as ihough sci forth in full at this point.

 6          108.    Pursuant to Califoniia Labor Code § 3357. PbinliiTs and Class Members are

 7   entitled to a presumption that they are in fact Defendants’ employees. The same holds true under

 8   the applicable wage order. Sec Dynonwx Operadons                Inc. v. Superior Court. 2018 \VL

 9   1999120(2018).
10          109.    .An actual controversy has arisen between PlainiilTs and the Class Members, on one

II   hand, and Defendants on the other, as to whether Defendants miselassilled PlaintilTs and Class

12   Members as "independent contractors” when, in fact, Plaintiffs and Class Members were and arc

13   Defendants’ employees.

14          110.    Plaintiffs and the Class Members seek declarator)’ relief against Defendants herein

15   and in PlainiilTs' favor, declaring that they were and are Defendants’ employees and. further,

16   declaring Defendants' practices to be unlawful.

17                          ------- SECOND CAUSE OF ACTION - "
18                             FOR FAILURE TO PAY MINIMUM WAGE

19                            (Labor Code §§ 1194, 1197, and Wage Order)

20          111.    Plaintifl's rc-allcge and incorporate by reference all of the preceding paragraphs of

21   this complaint, as though set forth In full at this point.

22          112.    Notwithstanding the unconscionable policies and procedures that Defendants

23   require the Associates to agree to as a condition of employment. Plaintifl’s and Class Members arc

24   Defendants' employees because, inter aiia. Defendants engage, sufier. or permit the Plaintifl's and

25   Class Members to work for them, yet retain all necessar)' control over their business and exercise

26   significani control over the wages and all aspects of the working conditions of the Plaintiff’s and

27   Class Members.

28           113.   When Plaintifl's’ and Class Members' working hours are divided into the amount of
                                                   22
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 I    compensalion paid by Dcfcndanis. ihc rcsull is an hourly rate ihai is less than the minimum wage

 2    that sei by ihe IWC Wage Order. This result is further c.xacerbalcd when the unlawful deductions
 •>
      and unreimbursed business e.\penses are deducted from the gross wages paid.

4            114.   Funhermorc, insofar as PlaintiIVs and Class Members are only paid commission,

 5    they arc not paid at all for time worked not covered by the commission system, including time

 6    spent on required tasks such as recruiting, attending meetings and training, and training other

 7    .Associates. Additionally, and because Defendants have no rest break policy. PlainiilTs and Class

 8    Members are not paid, at all. for the rest periods that the Labor Code and Wage Order designate

 9    as "hours worked.’" In each and every instance, the workers receive less than the minimum wage

10    for their mandated rest periods.

11           115.   Labor Code § 1197 provides: "The minimum wage for employees fi.xed by the

12    commission is the minimum wage to be paid to employees, and the payment of a lesser wage than

13    the minimum so fixed is unlawful."

14           116.   Labor Code § 1194 provides: "Notwiihsianding any agreement to work fora le.sser

15    wage, any employee receiving less than the legal minimum wage or the legal overtime

16    compensation applicable to the employee is entitled to recover in a civil action the unpaid balance

17    of the full amount of this minimum vvage or overtime compensation. Including interest thereon,'

18    reasonable attorney's fees, and costs of suit.”

19           117.   Labor Code § 1194.2(a) provides: "In any action under... Section 1194 to recover

20    wagc.s because of the payment of a wage less than the minimum wage fixed by an order of the

21    commission, an employee shall be entitled to recover liquidated damages in an amount equal to

22    the wages unlawfully unpaid and interest thereon."’

23           118    Insofar as Defendants, and each of them, failed to pay Plainiifl's and Class Mcmbcr.s

24    an amount that was at least the same as the applicable minimum wage. Defendants, and each of

25    them, were and are in violation of the applicable wage and hour laws.

26           119.    Wherefore. Plaintin's and Class Members clas.*; arc entitled to damages in the sum

27    of unpaid wages, liquidated damages, and the other relief provided by the Labor Code, in an

28    amount according to proof at the time of trial.
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                                        THIRD CAUSK OF ACTION
 2                                 FOR FAILURE TO PAY OVERTIME
 3                           (Labor Code §§ 510, 1194, 1198, and Wage Order)

4             120.    PlaintitTs rc-allegc and Incorporaic by reference all of ihe preceding paragraphs of

 .5   ihis complaini. as ihough sei fonh in full at this point.

 6            121.    Under California law. eight hours a day constitutes a day’s work. Any work in

 7    excess of eight hours a day or 40 hours per week must be compensated at the rate of one-and-one-

 S    half times the worker’s regular hourly rate. Any work in excess of 12 hours in a work day must

 9    be compensated at the rate of two limes the worker’s regular hourly rate. (Labor Code §§ 510(a).

10     1198. and IWC Wage Order No. 4). Likewise, the DLSE has published the analogous fomiula to

11    be utilized for piece rate workers.

12            122.    PlaintiHs and Class Members regularly worked more than eight hours a day and 40

13    hours per week, and often more than 12 hours a day. Plainiifls and the Class Members were

14    entitled to premium pay for the overtime hours worked.

15            12.3.   Pluiniiffs and the members of the putative class arc entitled to recover their unpaid

16    overtime wages, including interest thereon, reasonable attorneys' fees, and costs of suit, pursuant

17    ■to Labor Code § 1194(a).

IS                                     FOURTH CAUSE OF ACTION
19                            FOR FAILURE TO PROVIDE .MEAL BREAKS
20                              (Labor Code §§ 226.7, 512, and Wage Order)

21            124.    Plaintifl's rc-allcge and incorporate by reference all of the preceding paragraphs of

22     this complaint, as though set fonh in full at this point.

23            125.    Under California law, and as applicable hereto, no worker may be compelled to

24     labor for a work period of five or more hours without being provided with a 30-minuic. duty-free

25     meal break. Likewise, no worker may be compelled to work for more than 10 hours in a single

26     day. without being provided with a second. 30-minuie. duty-free meal break. Labor Code § 512

27     and Pan 11 of Wage Order No. 4.

28            126.    Defendants failed to provide the required meal breaks to Plaintifl's and Class
                                                    24
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      Members, even ihough they regularly labored for work periods of more than Hve hours, uiihout

 2    a meal break, and workdays of more than 10 hours, without a second meal break. PlainiiOs allege.

      on information and belief, that Defendants had no policy, procedure, or practice with regard to

 4    the provision of meal breaks to the Associates and that the lack of such policy, procedure, and

 .5   practice led to the result that none of the Associates were provided with the required meal breaks.

 6           127.    Pursuant to Labor Code § 226.7(b), each Plaintiff and each member of the putative

 7    class is entitled to recover from Defendants the sum of one hour of pay at their regular rate for

 8    each meal period that was not provided by Defendants.

 9                                      FIFTH CAU.se OF ACTION
10                        FOR FAILURE TO PROVIDE PAID REST BREAKS
                               (Labor Code §§ 226.7, 512, and Wage Order)

12           128.    Plaintiffs re-allcgc and incor|5oralc by reference all of the preceding paragraphs of

13    this complaint, as though set forth in full at this point.

14           129.    Under California law. and as applicable hereto, employers must authorize and

IS    provide a paid, ten-minute, duty-free re.si break for ever)' four hours of work in a workday. (Pan

16    12 of Wage Order No. 4.) 'Hie rest period shall be counted as "hours worked.” {ibid.)

17           130.    Defendants failed to authorize and/or provide the required rest breaks to Plaintiffs

18    and the Class Members, even though Plaintifis and the Clas.s Members regularly labored for work

10    periods of more than four hours without a rest break, and workdays of more than 10 hours without

20    additional rest breaks. Plaintiffs allege, on information and belief, that Defendants had no policy,

21    procedure, or practice that afTirmaiivcIy authorized rest breaks to Associates, and in fact

22    Defendants affirmatively represented that Plaintiffs and the Class Members were Independent

2.3   Contractors not entitled to be provided rest breaks by Defendants. Defendants’ uniform policies

74    procedures and practices constitute a failure to authorize such breaks and led to the result that

25    required rest breaks were not provided.

26           131.    I'urther. as Defendants only compensated Plaintiffs and the Class Members based

27    on commissions and thus, did not have a mechanism to compensate Plaintiffs and Class Members

28    for rest periods, even if taken, then Plaintiffs and Class Members could not and did not receive
                                                    25
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      paid rest periods as required by California law.

 2           132.    Pursuani lo Labor Code ^ 226.7(b). each PlainiifVand each Class Member is cmiilcd

 3    10 recover from Defendnnis die sum of one hour of pay al iheir regular rale for each paid rcsi

 4    period ihai was not auihorizcd and/or provided by Defendants.

 5                                      SIXTH CAUSE OFACriO.N

 6               FOR FAILURE TO M AINTAIN REQUIRED BUSINESS RECORDS
 7                                   (Labor Code § 1174, Wage Order)
 8           133.    Plainlifls rc-allcge and incorporaie by reference all of ihc preceding paragraphs of

 9    diis complaini. as though set forth in full at this point.

10           134.    Labor Code § 1174 and IWC Wage Order No. 4. section 7(.A) require every

      employer keep, at a central location, accurate information with respect to each employee.

12           135.    Pursuant to IWC Wage Order No. 4. section 7(A) Defendants are required to keep

13    the following employee information: (a) full name, home address, occupation, and social security

14    number: (b) birth dale, if under 18 years, and designation as a minor: (c) lime records showing

15    when the employee begins and ends each work period. Meal periods, split shift intervals and total

16    daily hours worked shall also be recorded: (d) total wages paid each payroll period, including

1?    value of board, lodging, or other compensation actually furnished to the employee: (e) total hours

18    worked in the payroll period and applicable rates of pay; and (f) when a piece rate or incentive

19    plan is in operation, piece rates or an explanation of the incentive plan formula shall be provided

20    lo employees. An accurate production record shall be maintained by the employer.

21           136.    Pursuant to Labor Code § 1174, ever>' employer in the state shall: “(c) keep a record

22    showing the names and addresses of all employees employed and the ages of all minors: and (d)

23    Keep, at a central location in the state or at the plants or estahlishmcnts at which employees are

24    employed, payroll records showing the hours worked daily by and the wages paid to. and the

2.5   number of piece-rate units earned by and any applicable piece rate paid to, employees employed

26    at the respective plants or establishments."' These records must be kept in accordance with rules

27    established for this purpose by Labor Commissioner, but in any case shall be kept on tile for not

28    less than three years.
                                                         26
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              137.    Derendnni5 violnicd ilie foregoing provisions, in ihai Dcfcndanis failed !0 maininin.

  2    ai a ccniral location. I’lainiifTs' aforememioned information with respect to employment, and as

       a result violated both the Labor Code and IWC Wage Order. Such conduct is “unlawfur' and

  4    PlainiilTs and the Class Members are entitled to restitution under the Unfair Business Practices

  5    Act for all sums unlawfully withheld from their wages on account of Defendants’ unlawful

  6    conduct.

  7           138.    Plaintiffs allege, on information and belief, (hat Defendants have applied this same

  8    policy, business practice, and/or custom to all Class Members.

  9                                    SEVENTH CAUSli: OF ACTION

10                FAILURE TO REIMBURSE FOR NECESSARY BUSINESS EXPENSES

 iI                                            (Labor Code § 2802)

 12           139.    PlainiilVs rc*ollege and incorporate by reference all of the preceding paragraphs of

 13    this complaint, as though set forth in full at this point.

 14           140.    Under California law. workers are entitled to be indemnified "for all neccssarv

 15    e.\pendiiurcs or losses incurred by them in direct consequence of the discharge of their duties."

 16           HI.     As previously alleged herein. Defendants maininin unifomi policies, procedures,

■|7   ■’and practices requiring PlaintilVs and Class Members to incur significant. subsianiial.*and ongoing

 IS    necessar>' business expenses that rightfully should have been borne by Defendants, and

 19    Defendants have failed to reimburse Plaintiffs and Class Members for the said expenses.

20            142.    Because these necessary' expenses were incurred by Plaintiffs and Class Members

21     in direct consequence of the discharge of their duties. Plaintiffs and Class Members are entitled

22     10 be indemnilled. pursuant to Labor Code § 2802(b). with interest thereon beginning from the

23     date that each expense wa.s incurred.

24                                      EIGHTH CAUSE OF ACTION

25                           FOR IMPROPER DEDUCTIONS FROM WAGES

20                                     (Labor Code § 226; Wage Order)

27            143.    Plainlifls rc-allcgc and incorporate by reference all of the preceding paragraphs of

28     this complaint, as though set forth in full at this point.
                                                     27
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            144.    CfHifornia law prohibits an employer from deducting anything from an employee's
2     wages other than those deductions explicitly pcrmiiied by law. The fees deducted from Plaintiffs’

5     and Class Members' wages arc not explicitly permitted by law. Nevertheless. Defendants' custom,

4     policy and practice was and is to deduct these fees from wages being paid to PlaintilTs and Class

 5    Members. This deduction was and is an illegal deduction from wages under California law.

6           145.    Punher, California law prohibii.s an employer, in the absence of dishonesty or gross

 7    negligence by an employee, from making any deduction or requiring any reimbursement for any

 S    cash shortage, breakage, or loss of equipment. However. Defendants hud and have a policy,

 9    custom, and/or practice of making such unlawful deductions and requiring unlawful

10    reimbursements from PlaintilTs and Class Members.

             146.   PlaintilTs and Class Members arc entitled to recover from Defendants the amounts

12    improperly and illegally deducted from their compensation, as well as the penalty spcciHcd in

      Labor Code § 226(c). un itijunciion to enjoin the continuation of this poliew practice and/or

14    custom, and an award of reasonable costs and attorneys’ fees.

15                                     NINTH CAUSE OF ACTION
16                      FOR INADEQUATE AND/OR FAILURE TO PROVIDE
17                          ACCURATE, ITEMIZED WAGE STATE.MENTS
18                                           (Labor Code §§ 226)

19           147.    Plainilfl's re-allege and incorporate by reference all of the preceding paragraphs of

20    this complaint, as though set fonh in full at this point.

21           148.    Labor Code § 226 makes it unlawful for un employer to fail to provide accurate and

22    itemized wage statements to its employees.

23           149.    Pursuant to California Labor Code § 226(a), PlaintilTs and Class Members were

24    entitled to receive, semimonthly or at the time of each payment of wages, an accurate itemized

2.5   statement showing, inicr alia: (a) gross wages earned; (b) net wages earned; (c) all applicable

26    hourly rates in cncci during the pay period: and (d) the corresponding number of hours worked

27    at each hourly rate by the employee.

28           150.    Defendants violated the foregoing provisions, in that Defendants failed to provide
                                                    28
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     PlainiilTs and Class Members wiih accurate itemized statements in accordance with California

2    Labor Code      226(a) by providing PlaintilTs and Class Members with wage statements with

     inaccurate entries for hours worked, corresponding rates of pay. and total wages earned, as a result

4    of the unlawful labor and payroll practices described herein. PlaintifTs and Class Members are

.5   therefore entitled to the siatutor\’ penalty set forth in subdivision (e) of section 226. or actual

6    damage.^, as well as un injunction against Defendants, under subdivision (h), plus an award of

7    costs and reasonable attorney’s fees.

S                                      TENTH CAUSE OF ACTION
9                                  FOR waiting time PENALTIES
10                                        (Labor Code §§ 201-203)

            151.    PlaimitVs re-allegc and incorporate by reference all of the preceding paragraphs of

12   this complaint, as though set forth in full at this point.

13          152.    California Labor Code § 203 provides that if an employer willfully fails to pay

14   compensation promptly upon di.schargc. as icquired by California Labor Ct'de §§ 201 or 202. then

15   the employer is liable for waiting time penalties in the form of continued compensation of up to

16   thirty (30) work days.

17          153.    PlainlilTis informed and believes, and thereon alleges, that Defendants, in violation

IS   of California Labor Code § 203. consistettily and willfully failed to timely pay all Class Members

19   whose employment was terminated all wages due and owing at the time of termination of

20   employment, including basic minimum wages and premium pay due for meal period and rest

21   period wages as set forth hereinabove.

22          154.    PlaintifTs and Class Members therefore seek the damages or penalties to which they

23   are entitled pursuant to California Labor Code § 203. the exact amount of which is to be

24   determined at trial, plus an award of costs and reasonable attorney’s fees.

25                                  ELEVENTH CAUSE OF ACTION

26                                    FOR UNFAIR COMPETITION
27                                  (Bus. & Prof. Code §§ 17200, etseq.)
28           155.   PlaintilTs re-allegc umJ incorporate by reference all of the preceding paragraphs of
                                                       29
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     this complaint, ns though set forth in full at this point.

2           156.      Defendants have engaged and continue to engage in unfair and unlawful business

3    practices in California by practicing, employing, and utilizing the policies, customs, and practices

4    outlined above, including, to wit: {!) not paying all wages, including minimum wage, and

 5   ovenime; (2) failing to pay all earned wages in a timely fashion; (3) failing to pay premium wages

6    for meal and rest breaks not provided: (4) making improper deductions from compensation and

 7   failing to keep proper records as required by law: (5) failing to reimburse and/or indemnify

     Plaintiffs and Class Members for Defendants' necessary business e.^penses: (6) improperly

 9   classifying Plaintin’s and Class .Members as independent contractors: and (7) Failing to pay all

10   wages owed'upon termination.

Ii          157.      Additionally. Defendants have engaged and continue to engage in unfair and

12   unlawful business practices by requiring prospective Associates to pay a $100 application fee. in

13   violation of Labor Code $ 450. which provides that:

14                  (a) No employer, or agent or officer thereof, or other person, may compel or coerce

15                  any employee, or applicant for employment, to patronize his or her employer, or any

16                  other person, in the purchase of any thing of value.

17                  (b) For purposes of this section, to compel or coerce the purchase of any thing of value

!R                  includes, but is not limited to. instances where an employer requires the payment of a

19                  fee or consideration of any type from an applicant for employment for any of the

20                  following purposes:

21                            (!) For an individual to apply for employment orally or in writing.

22                            (2) For an individual to receive, obtain, complete, or submit an application

23                            for employment.

24                            (3) for an employer to provide, accept, or process an application for

25                            employment.

26           I5S.      Plaintiffs and Class Members have each sulTcrcd actual harm as a result of

27   Defendants' unfair and/or unlawful business practices. Plaintiffs and the Class Members have

28   been deprived of wages actually earned but wrongfully and unlawfully retained by Defendants.
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                159.    Dcfcndams' iiiilizanon of such unfair and unlawful business practices con.stiiuics

    2    unfair, unlawful competition and provides an unfair advantage over Defendants' competitors who

    3    follow the law.

    4           160.    Plainiifls seek, on their own behalf, on behalfofthe Class Members, full restitution

     5   of monies, as ncccssar*' and according to proof, to restore any and all monies withheld, acquired

     6   and/or converted by the Defendants by means of the unfair practices complained of herein.

     7          161.    The acts complained of herein occurred within the last four years preceding the

     8   filing of this action.

     9          162.    Plaintiffs are informed and believe, and based thereon allege, that at all times

    10   pertinent hereto. Defendants have engaged in unlawful, deceptive, and unfair business practices,

    II   a proscribed by Bus. & Prof. Code §§ 17200 eiseq., including those set forth hereinabove, thereby

    12   depriving Plaintiffs and other members of the general public of the wages, minimum working

    13   standards and conditions due to them under California's laws and Indu.strial Welfare Commission

    14   wage orders specifically described herein.

    15          163.     PlainiiOs also seek injunciivc relief and on behalf of the general public, to prohibit

    16   Defendants from continuing to engage in the unlawful, deceptive, and unfair business practices

    17   complained of herein, as Defendants' strong emphasis on heavy recruitment harms the public at

    18   large by ensnaring thousands of individuals into Defendants' unlawful scheme.

    19                                    TWECn H CAUSE OF ACTION

    20                                     FOR UNJUST ENRICHMENT
    21           164.    Plainiifls re-ailege and incorporate by reference all of the preceding paragraph.s of

    22   this complaint, as though set forth in full at this point.

    23           165.    Plainiins and the Class Members conferred a benefit upon Defendants by working

    24   on their behalf without compensation, paying Defendants' business e.spenses. and paying

    25   Defendants an unlawful $100 application fee.

    26           166.      Defendants had an appreciation or knowledge of the benefit conferred by PlainiiOs

    27   and the Class Members.

    28           167.      Defendants accepted and retained the benefit under circumstances as to make it
                                                          31
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   I    inequitable for Defendants to retain the bcncni without payment of its value.

   2                                 THIRTEENTH CAUSE OF ACTION

                                FOR INTENTION.AL MISCLASSIFICATION
   4                                           (Labor Code §226.8)
   5           168.    Plainiifls rc-allcue and incorporate by reference all of the preceding paragraphs of

   6    this complaint, as though set forth in full at this point.

   7           169.    Defendants engaged in conduct designed to avoid employee status for the Plaintiffs

   8    and Class Members by willfully misetassifying them as independent contractors, as herein

   9    alleged, in violation of Labor Code § 226.8(a). and in doing so unlawfully forced deductions from

  10    their compensation, either directly or indirectly, including but not limited to BPM fees, olTicc

  11    expenses, expenses for marketing materials and business cards, client entertainment and

  12    development expenses, gas and other mileage related expenses, phone expenses (both cellular and

  13    landlines, as needed), and errors and omissions insurance.

  14           170.    Wherefore. Plaintiffs and the Class Members are entitled to a determination from

  15    the Court that Defendants have engaged in violations of Labor Code § 226.8(3). Plaintifls and the

  16    Class Members likewise are entitled to recover the penalties pcmiiited by Labor Code § 226.8(b).

''I 7   in addition to any other remedies they may have on account of the misclussification.

  18           171.    As alleged herein. Defendants engaged in a pattern and/or practice of violations of

  19    Labor Code § 226.8(a) and PlainiifTs and the Class Members arc entitled to a determination from

 20     the Court that Defendant.':' violations of the statute were and are part of a pattern and/or practice

 21     of misclassifying Plaintiffs and Class Members as independent contractors. Plaintifls and Class

  22.   Members likewise are entitled to recover the penalties permitted by Labor Code § 226.8(c). in

  23    addition to any other remedies they may have on account of the ntisclassification.

  24                                  FOURTEENTH CAUSE OF ACTION
  25              FOR VIOLATIONS OFTHE PRIVATE .ATTORNEYS GENERAL ACT
  26                                            (Labor Code § 2699)
  27           172.    Under Labor Code § 2699. any employee aggrieved by an employer’s violation of

  28    the Labor Code and/or applicable IWC Wage Order has the right to file an action on behalf of all
                                                   32
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 I     aggrieved employees for the penaliles esinblishcd by Section 2609 and/or other Labor Code

 2     sections The aforementioned wrongful acts and omissions of Defendants were violations of the

 .3    Labor Code and/or applicable IWC Wage Order, as set fonh herein. PlaimilTs arc current or former

 4     employees who have been aggrieved by Defendants' violations of the aforementioned Labor Code

 5     and/or Wage Order provisions, and Class Members are similarly aggrieved employees. As set

 6     fonh hereinabove, Plaintiffs have complied with all pre-filing requirements of Labor Code §

 7     2699.3. and will seek leave to amend this Complaint to add a claim for civil penalties under PAGA

 8     if the LWDA declines to investigate.

 9                                         PRAYKR FOR RELIEF
10            wherefore. PlaintilTs pray for judgment for themselves and all others on whose behalf

      this suit is brought against Defendants, jointly and severally, as follows:

12            1. For an order certifying the proposed Class;

13            2. For an order appointing Plaintiffs as the representatives of the Cla.ss;

14           3. For an order appointing Counsel for Plaintiffs as Class counsel;

15           4. On the First Cause of Action, a declaration that Dcfendani's conduct violated and

16               violates California law: a declaration that Plaintifls and the class members are

17               Defendants' employees and entitled to the protections of the Labor Code and applicable

18               Wage Order; and restitution and disgorgement of all sums improperly retained by

19               Defendants as a result of their misclassification of PlainlifTs and class members:

20            5. On the Second Cause of .Action, for damages and/or penalties, including liquidated

21               damages, ns provided by statute, in an amount according to proof at the time of trial:

22           6. On the Tliird Cause of Action, for damages and/or penalties, as provided by statute, in

23               an amount according to proof at the time of trial:

24            7. On the Fourth Cause of Action, for damages and/or penalties, as provided by law. in an

25               amount according to proof at the lime of trial:

26            8. On the Fifth Cause of Action, for damages and/or penalties, as provided by law. in an

27               amount according to proof at the time of trial:

28            9. On the Si.sth Cause of Action, for damages and/or penalties, as provided by law. in an
                                                       33
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           amouni according to proofal the time of trial:

2       10. On the Seventh Cause of Action, for reimbursement of ail necessary business expenses

           advanced by PlainlilTs and the class members, in an amount according to proof at the

4          lime of trial:

 5      11. On the eighth Cause of Action, for damages and/or penalties, as provided by law, and

6          for an injunction enjoining Defendants from continuing to make unlawful deductions

 7         from the .Associates’ compensation, interest thereon, and reasonable costs and

 8         attorneys' fees, us provided by Labor Code § 226;

9       12. On the Ninth Cause ofAction. for damages and/or penalties, as provided by law. in an

10         amount according to proof at the time of trial;

        13. On the Tenth Cause ofAction. for damages and/or penalties, as provided by law. in an

12         amount according to proof at the lime of trial:

13      14. On the ITkventh Cause of Action, for restitution to Pbiniifl’i; and other similarly situated

14         members of the general public of all funds unlawfully acquired by Defendants by

15         mean.s of any acts or practices declared by the Couil to be in violation of Dus. & Prof.

16         Code §§ 17200 cfseq.. for an injunction to prohibit Defendants from engaging in the

17         unfair business practices complained of herein, for an injunction requiring Defendants

18         to give notice, to persons to whom restitution is owing, of the means by which to file

19         and make claim for restitution;

20      15. On the Twelfth Cause of Action, for quasi-contract recovery for services rendered:

21      16. On ihe Thirteenth Cause of .Action, for all damages and penalties as provided by Labor

22         Code § 226.8:

23      17. On the Founeenth Cause of Action, for penalties pursuant to statute as set forth in

24         California Labor Code California Labor Code §§ 201-204. 223. 226. 226.3. 226.4,

25          226.7.450.510.512.558. 1174, 1174.5. 1193.5, 1193.6. 1194. 1194.5. 1198, and 2698-

26          2699. and for co.sis and aitorncv's fees:

27      18. On all cau.se.s of action, for attorneys' fees and costs, as provided by Labor Code

28          §§ 218.5.226, 1194. and Code of Civil Procedure § 1021.5:
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           19. On all causes of aciion. for ihc penalties pcrniilied by law, and in panicular. under

2             PAGA; and.

3          20. For all such other and further relief as the Court may deem just and proper.

A
     DATliD: December 21.2018
 5
                                                 MARLIN & SALTZMAN, LLP
6
 7                                               By:
                                                        Stanley D. Salizman. Csq.
 8                                                      Adam M. 'famburelli. lEsq.
 9
                                                        Attorneys for PlainiilTs and the putative Class
10


12

13                                   DEMAND FOR .lURV TRIAL

14         PlaintilTs hereby demand a jury trial on all issues so triable.

15
     DATED: December 21. 201 8
16
                                                 MARLIN & SALTZMAN, LLP
17
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                                                                         y

18                                                Bv:
                                                        Stanley D. Salizman. Esq.
19                                                      Adam M. Tamburelli. Esq.
20
                                                        .Attorneys for Plaintiffs and the putative Class
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                 Freud (16)                                    Roslderula] (32)                         RICO (27)
                 ImeCectual property {19)                      Dnrgs(38)                               Other complaint (not spodTiod above) (42)
                 PiufeuMud rwgtigonco (25)                Judicial Review                         Miscellaneous CIvO Petition
                 Other norv^UPt^AArO tort (35)                 Asset forfeiture (05)                   PtrVtersNp ar>d corporate gowemarwo (21)
            £mpioymeni                                         PotUbn rb: art>ba*ja> award (11)        Other petition (not spedRod above) (43)
                 Wrongful tcrmirulion (36)                     wm of m.mdate (0?)
             X Other cmiXoymuru (15)                           (3iher judidai reriew (39)
      2. Thbease        X is           Isool ocunplex under rule S.bOOoftheCaUfomla F^lesof Court. II Ihecase Is complex, martt the
         facias requiring exceptional judldal management:
         a.       Urge number oi separstefy represented parties     d. X Large number of witnesses
         b. X Extensive motion practice raising diBicull or novel o. x Coordination wCih related ecUons pending In one a more courts
                  issues that wtO be time^onsumlig to resolve              In olher counties, states, or countries, or in a federal court
         c. -X Substanliat amount of documentary evidence           f.   ' Substantial postjudgmeni judidai supervision
      3. Remedies sought (check ell the! eppfyf: a. X monetary b. X nqrunoneiary: dedaralory orJnJunclivc relief c. X punitive
      4. Number of causes ol action (spcc^: fourceen (14)
      5. This case   X is            is rroi a dass acUon suit.
      6. If there arc any known related cases, file and serve a notico of related case. (You may use tom CM^IS.)
      Date: Dec 21.2016
      Adam M. Tamburelli. Esq.
                                 «rrPt on pfONT MMic 1
                                                                                  ►            (SCMATVRE or PXAnrOR ArTOftKCr POR PARTY)
                                                                          NOTICE
       • Plaintlfl must fQo (his cover shcci v/oh the first paper filed In (he adlon or proceeding (except small daims cases or          fied
         under (ho Probato Code. Family Code, or Welfare and Institutions Code). (Cal. Rules of Court, rule 3.220.) Failure to fde may result
         in sanctions.
       • File this ooMei sheet in addition to any cover sheet required by tocaf court rule.
       • If this case is complex under rute 3.400 d seq. of the Califorr^ Rules of Court, you rnust serve a copy this cover sheet on all
         other parties to the action or proceeding.
       • Unless ttfis is a ooOcctions case under rule 3.740 or a comptes case, this cover sheet wfli bo used for statistical purposes only.
                                                                                                                                          PMtlot}
     Feni) AOMUMl IWKMRWT uw                                                                        ]   Cii ftn u coufC    rao. laa. i oo-iun. s.r^
       Judeilt Cocnc4 U CMPm
                                                            CML CASE COVER SHEET
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                                         INSTRUCTIONS ON HOW TO COMPLETE THE COVER SHEET                                                    CM-010
    To Plaintiffs and Others Piling First Papers. If you are filing a first paper (for example, a complaint) in a civil case, you must
    complete and file, along with your first paper, the Civil Case Cover Sheet contained on page l. This information v/ill be used to compile
    statistics about the types and numbers of cases filed. You must complete items 1 through 6 on the sheet. In item 1. you must check
    one box for the case type that best describes the case. If the case fits both a general and a more specific type of case listed in item 1.
    check the more specific one. If the case has multiple causes of action, check the box that best indicates the primary cause of action.
    To assist you in completing the sheet, examples of the cases that belong under each case type in item 1 are provided below. A cover
    sheet must be filed only with your initial paper. Failure to file a cover sheet with the first paper filed m a civil case may subject a party, its
    counsel, or both to sanctions under rules 2.30 and 3.220 of the California Rules of Court.
    To Parties In Rule 3.740 Collections Cases. A “collections case“ under rule 3.740 is defined as an action for recovery of money owed
    in a sum stated to be certain that is not more than $2S.OOO. exclusive of interest and attorney's fees, arising from a transaction in which
    property, services, or money was acquired on credit. A collections case does not include an action seeking the following; (1) tort
    damages, (2) punitive damages. (3) recovery of real property. (4) recovery of personal property, or (5) a prejudgmeni wnt of attachment.
    The identification of a case as a rule 3.740 collections case on this form means that it will be exempt from the genera! time-for-service
    requirements and case management rules, unless a defendant files a responsive pleading. A rule 3.740 collections case will be subject
    to the requirements for service and obtaining a judgment in rule 3.740.
    To Parties In Complex Cases. In complex cases only, panics must also use the Civil Case Cover Sheet to designate vriiether the
    case is complex, if a plaintiff believes the case is complex under rule 3.400 of the California Rules of Court, this must be indicated by
    completing the appropriate boxes in items t and 2. If a plaintiff designates a case as complex, the cover sheet must be served vnth the
    complaint on all panics to the action. A defendant may file and sen/e no later than the time of its first appearance a joinder in the
    plaintiffs designation, a counter-designation that the case is not complex, or. if the plaintiff has made no designation, a designation that
    the case is complex.                                    CASE TYPES AND EXAMPLES
    Auto Tort                                        Contract                                          Provisionally Complex Civil Litigation (Cel.
       Auto (22)—Personal Injury/Properly              Breach ol ContraciAMarranty (06)                Rules of Court Rules 3.40(K3.403)
            Damage/Wrongful Death                         Breach ol Rental/Lease                            Antitaist/Trade Regutation (03)
       Uninsured Motorist (46) (Htho                          Contract (not unlavtiul detainer              Construction Defect (10)
            case Involves an uninsured                            or wrongful eviction)                     Claims Involving Mass Ton (40)
            motorist daim subject to                      ConiraciAVarranty Breach—Seller
                                                                                                            Securities Litigation (26)
            arbitration, chock this Hem                       Plaintiff (noi fraud or negligonco)
                                                          Negligent Breach of Contract/                     Environmental/Toxic Tort (30)
            instead ol Autoi                                  Warranty                                      Insurance Coverage Claims
    Other PirPD/WD (Personal Injury/                      Other Breach of Contract/Warranty                     (aiising from provIsionBliy complex
    Properly Demago/Wrongful Death)                    Collections (e.g.. money owed, open                      case typo listed obovo) (41)
    Tort                                                  book accounts) (09)                          Enforcement of Judgment
       Asbestos (04)                                      Collection Case—Seller Plainiitt
            Asbestos Property Damage                                                                        Enforcement of Judgment (20)
                                                          Other Promissory Note/Colleaions                      Abstract of Judgment (Out ol
            Asbestos Personal Injury/                             Case
                  Wrongful Death                       Insurance Coverage (nor provisionally                        County)
       Product Liability (not asbestos or                  compfex) (18)                                        Confession of Judgment (non-
            toxic/environmontal) (24)                     Auto Subrogation                                          domestic relations)
       Medical Malpractice (45)                            Otner Coverage                                       Sister Stale Judgment
            Medical Malpradice-                        Other Contract (37)                                      Admimstraitve Agency Award
                  Physidans 4 Surgeons                     Contractual Fraud                                        (not unpaid taxes)
            Other Professional Heanh Caie                  Other Contract Dispute                               PctiiiorUCcrtification ol Entry of
                  Malpractice                        Real Property                                                  Judgment on Unpaid Taxes
       Other Pl/POA'‘VD (23)                           Eminent DomairVInverse                                   Other Enlorcement ol Judgment
             Premises Liability (e.g.. slip                Condemnation (14)                                        Case
                  and tall)                            Wrongful Eviction (33)                          Misceilanoous Civil Complaint
                                                       Other Real Property (e.g.. quiet title) (26)         RICO (27)
             Intentional Bodily Injury/PDA/VO
                                                           Wtix of Possession of Real Property              Other Complaint (noi spedriod
                  (e.g.. assBirli. vartdalism)             Mortgage Foreclosure                                 BtJO\‘e) (42)
             Intentional Infliction of                     Quiet Title
                  Emotional Oisiress                                                                            Declaratory Relief Only
                                                           Other Real Property (nor omlnonl                     Injunctive Relief Only (non-
             Negligent Infliction of                       domain, londiord/tonant. or
                  Emotional Distress                                                                                harsssmoni)
                                                           fotoclosuro)
             Olher PI/PDAVD                                                                                     Mechanics Lien
                                                     Unlawful Oetalnor                                          Otnet Commerdal Complaint
    Non-PI/PD/WD (Other) Tori                          Commercial (31)
                                                                                                                    Case (non-!ort/non-complox)
       Business Tort/Untair Business                   Residential (32)                                         Other Civil Complaint
             Practice (07)                             Drugs (36) (// the case involves Illegal                     (non-ion/nory-compiexj
       Civil Rights (e.g.. discrimination,                 diugs, check this item; otherwise,
             false arrest) (notcMi                                                                     Miscolianoous Civil Petition
                                                           report os Commoidal or Residential)              Partnership and Corporate
             harassment) (08)                        Judicial Review                                            Governance (2t)
       Defamation (e.g.. slander, libel)               Asset Forfeiture (05)                                Other Petition (not spodOed
             (13)                                      Petition Re. Arbitration Av.-ard (it)                    above) (43)
       Fraud (16)                                      Wnt ol Mandate (02)                                      Civil Harassment
       Intellectual Properly (19)                          Writ-Admlnistfalive Mandamus
                                                                                                                Workplace Violence
       Professional Negligence (25)                        Writ'MarKlamus on Limited Court
                                                                                                                Elder/Oependeni Adult
             Legal Malpractice                                Cose Matter
                                                                                                                    Abuse
             Olher Professional Malpractice                Writ-Other Limited Court Case
                                                                                                                Election Contest
                  (not medical or legal)                      Review
                                                                                                                Petition for Name Change
       Omer Non-PI/PO/WO Ton (35)                       Other Judidal Review (39)
                                                           Review ol Health Officer Order                       Petition (or Relief from Late
    Employment                                                                                                      Claim
       VA/rongful Termination (36)                         Nonce of Appeal-Labor
                                                              Comnussioner Appeals                              Other Civil Petiiion
       Other Employment (15)
    cu.oio(n*« Mti I ?0D'q                                  CIVIL CASE COVER SHEET                                                            P*gt 2 or 2
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CASE NUMBER: CGC-18-572397 TRICIA YEOMANS ET AL VS. WORLD FINANCIAL GROUP I

                                     NOTICE TO PLAINTIFF

A Case Managemenl Conference is set for:

                 DATE:       MAY-29-2019
                 TIME:       10:30AM

                 PLACE:      Department 610
                             400 McAllister Street
                             San Francisco, CA 94102-3680
All parlies must appear and comply with Local Rule 3.

 CRC 3.725 requires the filing and service of a case managemenl stalement form CM-110
 no later than 15 days before the case management conference. However, it would facilitate
 the issuance of a case management order without an appearance          at the case
 management conference if the case management stalement is filed, served and lodged in
 Department 610 twenty-five (25) days before the case management conference.

Plaintiff must serve a copy of this notice upon each parly to this action with the summons and
complaint. Proof of service subsequently filed with this court shall so state. This case Is
eligible for electronic filing and service per Local Rule 2.11. For more information,
please visit the Court's website at www.sfsuperiorcourt.org under Online Services.
[DEFENDANTS: Attending the Case Management Conference does not take the place
of filing a written response to the complaint. You must file a written response with the
court within the time limit required by law. See Summons.]

                 ALTERNATIVE DISPUTE RESOLUTION REQUIREMENTS

  IT IS THE POLICY OF THE SUPERIOR COURT THAT EVERY CIVIL CASE SHOULD PARtlClPATE IN
  MEDIATION, ARBITRATION. NEUTRAL EVALUATION. AN EARLY SETTLEMENT CONFERENCE. OR
  OTHER APPROPRIATE FORM OF ALTERNATIVE DISPUTE RESOLUTION PRIOR TO A TRIAL.


  (SEE LOCAL RULE 4)


Plaintiff must serve a copy of the Alternative Dispute Resolution (ADR) Information Package
on each defendant along with the complaint. (CRC 3.221.) The ADR package may be
accessed at vAvw.sfsuperiorcourl.org/divisions/civil/dispule-resolution or you may request a
paper copy from the filing clerk. All counsel must discuss ADR with clients and opposing
counsel and provide clients with a copy of the ADR Information Package prior to filing
the Case Management Statement.

Superior Court Alternative Dispute Resolution Administrator
400 McAllister Street. Room 103-A
San Francisco. CA 94102
(415) 551-3869


See Local Rules 3.3. 6.0 C and 10 B re stipulation to judge pro tom.
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                    Superior Court of California. County of San Francisco
                                     Alternative Dispute Resolution                                         i
                                           Information Package                                      A             A

       The plaintiff must serve a copy of the ADR Information Package on each defendant along
      with the complaint. Cross-complainants must serve a copy of the ADR information Package
          on any new parties to the action together with the cross-complaint. (CRC 3.221(c).)


    WHAT IS ADR?
    Alternative Dispute Resolution (ADR) is the term used to describe the various options available for
    settling a dispute without a trial. There are many different ADR processes, the most common forms of
    v./hich are mediation, arbitration and settlement conferences. In ADR, trained, impartial people decide
    disputes or help parties decide disputes themselves. They can help parties resolve disputes without
    having to go to trial.

    WHY CHOOSE ADR?
    It is the policy of the Superior Court that every long cause, non-criminal, non-juvenile case should
    participate either in an early settlement conference, mediation, arbitration, early neutral evaluation or
    some other alternative dispute resolution process prior to trial, (local Rule 4.)

    ADR can have a number of advantages over traditional litigation:
       • ADR can save time. A dispute often can be resolved in a matter of months, even weeks,
           through ADR, while a lawsuit can take years.
       • ADR can save money, including court costs, attorney fees, and expert lees.
       • ADR encourages participation. The parties may have more opportunities to tell their story than
           in court and may have more control over the outcome of the case.
       • ADR is more satisfying. For all the above reasons, many people participating in ADR have
           reported a high degree of satisfaction.

                    ’ •Electing to participate in an ADR process does not stop the time period to
                                     respond to a complaint or cross-complaint* *

    WHAT ARE THE ADR OPTIONS?
    The San Francisco Superior Court offers different types of ADR processes for general civil matters. The
    programs are described below:

    1) MANDATORY SETTLEMENT CONFERENCES
    Settlement conferences are appropriate in any case where settlement is an option. The goal of
    settlement conferences is to provide participants an opportunity to reach a mutually acceptable
    settlement that resolves all or part of a dispute. Mandatory settlement conferences are ordered by the
    court and arc often held near the date a case is set for trial, although they may be held earlier if
    appropriate. A party may elect to apply to the Presiding Judge for a specially set mandatory settlement
    conference by filing an ex parte application. See Local Rule 5.0 for further instructions. Upon approval by
    the Presiding Judge, the court will schedule the conference and assign a settlement conference officer.


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2) MEDIATION
Mediation is a voluntary, flexible, and confidential process in which a neutral third party facilitates
negotiations. The goal of mediation is to reach a mutually satisfactory agreement that resolves all or
part of a dispute after exploring the interests, needs, and priorities of the parties in light of relevant
evidence and the law.

     (A) MEDIATION SERVICES OF THE BAR ASSOCIATION OF SAN FRANCISCO (BASF), in cooperation
with the Superior Court, is designed to help civil litigants resolve disputes before they incur substantial
costs in litigation. While it is best to utilize the program at the outset of litigation, parties may use the
program at any lime while a case is pending. Experienced professional mediators work with parties to
arrive at a mutually agreeable solution. The mediators provide one hour of preparation time and the
first two hours of mediation time. Mediation time beyond that is charged at the mediator's hourly rate.
BASF pre-screens all mediators based upon strict educational and experience requirements. Parties can
select their mediator from the panels at wv.fv,>.sfbar.oip./u»ediation or BASF can assist with mediator
selection. BASF staff handles conflict checks and full case management. The success rate for the
program is 67% and the satisfaction tale is 99%. BASF charges an administrative fee of $295 per party.
The hourly mediator fee beyond the first three hours will vary depending on the mediator selected.
Waivers of the fee are available to those who qualify. For more information, call 415-982-1600 or email
Hdt@sfbat.orp..

     (B) JUDICIAL MEDIATION PROGRAM provides mediation with a San Francisco Superior Court judge
for civil cases, which include but are not limited to, personal injury, construction defect, employment,
professional malpractice, insurance coverage, toxic torts and industrial accidents. Parties may utilize
this program at any time throughout the litigation process. Parties interested in judicial mediation
should file a Stipulation to Judicial Mediation indicating a joint request for inclusion in the program. A
preference for a specific judge may be indicated. The court will coordinate assignment of cases lor the
program. There is no charge. Information about the Judicial Mediation Program may be found by
visiting the ADR page on the court's website: www'.sfiuperiotcoutt.orr./divisions/civil/di^pme iesolution

    (C) PRIVATE MEDIATION: Although not cuiiently a part of the coun’s ADR program, parties may
select any private mediator of their choice. The selection and coordination of private mediation is the
responsibility of the paaies. Parlies may find mediators and organizations on the Internet. The cost of
private mediation will vary depending on the mediator selected.

    (D) COMMUNITY BOARDS MEDIATION SERVICES: Mediation sea'ices are offered by Community
Boards (CB), a nonprofit resolution center, under the Dispute Resolution Programs Act. CB utilizes a
three-person panel mediation process in which mediators work as a team to assist the parties in
reaching a shared solution. To the extent possible, mediators are selected to reflect the demographics of
the disputants. CB has a success rate of 85% for parties reaching a resolution and a consumer
satisfaction rate of 99%. The fee is $45-SlOO to open a case, and an hourly rate of $180 for complex
cases. Reduction and waiver of the fee are available. For more information, call 415-920-3820 or visit
cunimunitvhoards.orp,.




  ADR-1 to/18                                                                                         Page|2
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    3) ARBITRATION
    An arbitfator is a neutral aiiorney who presides at a hearing where the parlies present evidence through
    exhibits and testimony. The arbitrator applies the law to the facts of the case and makes an award based
    upon the merits of the case.

         (A) JUDICIAL ARBITRATION
    When the court orders a case to arbitration it is called "judicial arbitration". The goal of arbitration is to
    provide parties with an adjudication that is earlier, faster, less formal, and usually less expensive than a
    trial. Pursuant to CCP 1141.11, all civil actions in which the amount in controversy is $50,000 or less, and
    no party seeks equitable relief, shall be ordered to arbitration. (Upon stipulation of all parties, other
    civil matters may be submitted to judicial arbitration.) An arbitrator is chosen from the court's
    arbitration panel. Arbitrations are generally held between 7 and 9 months after a complaint has been
    filed. Judicial arbitration is not binding unless all parties agree to be bound by the arbitrator's decision.
    Any parly may request a trial within 60 days after the arbitrator's award has been filed. Local Rule 4,1
    allows for mediation in lieu of judicial arbitration, so long as the parties file a stipulation to mediate
    after being assigned to judicial arbitration. There is no cost to the parties for judicial arbitration.

        (B) PRIVATE ARBITRATION
    Although not currently a part of the court's ADR program, civil disputes may also be resolved through
    private arbitration. Here, the parties voluntarily consent to arbitration. If all parties agree, private
    arbitration may be binding and the parties give up the right to judicial review of the arbitrator's decision.
    In private arbitration, the parties select a private arbitrator and are responsible for paying the
    arbitrator's lees.

    HOW DO I PARTICIPATE IN ADR?
    Litigants may elect to participate in ADR at any point in a case. General civil cases may voluntarily enter
    into the court's or court-affiliated ADR programs by any of the following means;
         • Filing a Stipulation to ADR: Complete and file the Stipulation form (attached to this packet and
             available on the court's website): or
         • Indicating your ADR preferences on the Case Management Statement (available on the couri's
             v/ebsite); or
         • Contacting the court’s ADR Department (see below), the Bar Association of San Francisco's ADR
             Services, or Community Boards.

    For more information about ADR programs or dispute resolution alternatives, contact:

                                   Superior Court Alternative Dispute Resolution
                            400 McAllister Street, Room 103-A, San Francisco, CA 94102
                                                   415-551-3869
           Or, visit the court's ADR page at www,;.fsuiieiiui(.ourt orn/dtvisir)ns/(.ivil/'dist)utc-rt\solution

    TO PARTICIPATE IN ANY OF THE COURT’S ADR PROGRAMS. PLEASE COMPLETE AND FILE THE ATTACHED
    STIPULATION TO ADR AND SUBMIT IT TO THE COURT. YOU MUST ALSO CONI AO' BASF OR COMMUNm'
    BOARDS TO ENROLL IN THEIR LISTED PROGRAMS. THE COURT DOES NOT FORWARD COPIES OF
    STIPULATIONS TO BASF OR COMMUNITY BOARDS.




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                                   SlIRULAHON TOALTERHAUVE DISPUTE RESOl UTION (ADR)                                                          ! ..'I M !/r'r

                                                                                                                                                                      DEPARTMENT 610

       1)           The parties licrcby sJlpulaic thai liiis action shall be submitied to the following ADR |>rocess:

       a                    r/iodiation Services of the 3a« Association of San Francisco (BASF) - F «).Liii.ncc<,s riLltiMonal nutliaic''- r.< i«-i:i.i u
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                            Mediation Services of Coninniniiy Boards (C8) • Scivtc" m ccnicirct on w.:ii FJRf'A CE ptoviue: Cuffc dtvt Icptr-ciii and or.r
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       2)           Tnc- pailies agree that the ADR Piocess shall be completed by idaio
       3)           Plainlillfs) and Oefi-ndaims) lurthcr agree as follows:




       K.-i’iti- tl F-'in!’, Stiicilaiinn                                                                                 Mri’i'- c? l-'.Trtv Stii-ulnt r.q



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